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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

    JUAN ANTONIO BROCQ TREMOLADA                           CASE NO. 15-cv-22223-KMW
    and all others similarly situated under 29
    U.S.C. 216(b),

                          Plaintiff,
    v.

    NEWPORT UNIVERSAL GROUP CORP.,
    and JAVIER CHOROSZCZ,

                          Defendants
   ____________________________________/


                 JOINT MOTION TO APPROVE PARTIES’ SETTLEMENT
                       AND FOR DISMISSAL WITH PREJUDUCE

           COME NOW the Parties, Plaintiff, JUAN ANTONIO BROCQ TREMOLADA

   (hereinafter “TREMOLADA”) and Defendants, NEWPORT UNIVERSAL GROUP CORP.

   and JAVIER CHOROSZCZ (collectively “Defendants”), by and through respective counsel

   and hereby notify the Court that the Parties have resolved this matter and all claims raised

   herein and stipulate to the dismissal of this action with prejudice upon approval of the

   Parties’ Settlement Agreement and Mutual General Release, resolving the matter as set forth

   therein. In support, the parties state as follows:

           1.      Plaintiff, TREMOLADA, filed a claim under case number 15-cv-22223-

   KMW under the Fair Labor Standards Act (FLSA), the Florida Statutes, and the Florida

   Constitution for minimum wage and overtime wages whereby the Plaintiff alleged that he

   was not paid the appropriate minimum wages and overtime wages for the work he

   performed for Defendants.
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          2.      Defendants deny Plaintiff’s allegations in their entirety and have asserted

   affirmative defenses. Defendants state that Plaintiff was properly compensated for all hours

   worked during his employment and that no overtime wages are due or owing. However,

   defendants have agreed to enter into a settlement agreement with Plaintiff for the sole

   purpose of avoiding the costs and uncertainty of litigation.

          3.      The Parties have engaged in settlement negotiations, resulting in an accord

   and satisfaction embodied in the Settlement Agreement and Mutual General Release, which

   contains a confidentiality provision in paragraph 9, and which the Parties believe and agree

   represents a fair, reasonable and adequate settlement of the Plaintiff’s claims against

   Defendants.

          4.      A copy of the Settlement Agreement and Mutual General Release has been

   submitted to the Court via email simultaneously with the filing of this Motion.

          5.      The Parties are in agreement that this Court may enter an Order Approving

   the Settlement Agreement, Dismissing Case with Prejudice as to Defendants, and Closing

   Case after scrutinizing the settlement for fairness and approving the settlement. See, Lynn’s

   Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982).

          6.      Aside from Plaintiff and Defendants, there are no other parties to this action.

          WHEREFORE, the parties respectfully request the Court: (1) approve the Parties’

   Settlement Agreement and Mutual General Release; resolving the matter on the terms set

   forth therein; and (2) dismiss this case with prejudice against the Defendants; (3) retain

   jurisdiction for the limited purpose of enforcing the Parties’ Settlement Agreement and

   Mutual General Release.
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   Respectfully submitted,



   By: /s/ Stephen M. Fox, Jr.                          By: /s/ Robert E. Abreu, Esq.
   STEPHEN M. FOX, JR., ESQ.                            ROBERT E. ABREU, ESQ.
   Fla. Bar No. 110359                                  Fla. Bar No. 0691119
   J.H. ZIDELL, P.A.                                    THE ABREU LAW FIRM, LLC
   300 71st Street, Suite 605                           2340 South Dixie Highway
   Miami Beach, FL 33141                                Miami, FL 33133
   Telephone: (305) 865-6766                            Telephone: (305) 859-7330
   Facsimile: (305) 865-7167                            Facsimile: (305) 859-7335
   E-Mail: Stephen.fox.esq@gmail.com                    E-mail: robert@abreulaw.com
   ATTORNEY FOR PLAINITFF                               ATTORNET FOR DEFENDANTS


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via
   electronic filing using the CM/ECF system with the Clerk of the Court which sent e-mail
   notification of such filing to all CM/ECF participants in this case on this 12th day of August,
   2016.

                                                 By: /s/ Robert E. Abreu, Esq.               .
                                                     ROBERT E. ABREU, ESQ.
